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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

BYRON BURTON NEVIUS,                     )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )       Case No. 4:22MC400 HEA
                                         )
JAMES DIMON, et al.,                     )
                                         )
      Defendants.                        )

                                      ORDER

      This matter is before the Court on Plaintiff’s “Foreign Judgment” filed on

May 9, 2022 and Plaintiff’s “Praecipe for Writ of Execution (Money). Plaintiff

fails to provide the Court with a valid Court Case Number for any foreign

judgment he seeks to register in this Court. As such, the Court is unable to register

any judgment under the laws of the United States and/or Federal Rules of Civil

Procedure. Accordingly, this matter is stricken from the docket of this Court.

      Dated this 1st day of June, 2022.




                                ________________________________
                                  HENRY EDWARD AUTREY
                                UNITED STATES DISTRICT JUDGE
